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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF WISCONSIN



 CONSUELA SMITH-WILLIAMS, FRED
 RIVERS, RICHARD MURPHY, ROBERT
 RISTOW, ROGER SUHR, and
 SALVADOR FUENTES, individually, and
 on behalf of all similarly situated,

                           Plaintiffs,

              v.                                         Case No. 17-cv-823-wmc

 UNITED STATES OF AMERICA,

                           Defendant.


                   UNOPPOSED MOTION TO STAY PROCEEDINGS


      Defendant United States of America (“United States”), by its attorneys, Scott C.

Blader, United States Attorney for the Western District of Wisconsin, and Assistant

United States Attorneys Theresa (Esa) M. Anzivino and Barbara L. Oswald, move

this Court to stay proceedings pending the Court’s decision on Defendant’s motion for

summary judgment, ECF No. 89.

      Good cause for a stay exists under Rule 16 for the following reasons:

1.    Defendant filed its motion for summary judgment on May 10, 2019, and filed its
      reply on June 17, 2019. (ECF Nos. 89 and 135, respectively).

2.    Defendant moved for summary judgment, asserting that it is entitled to
      judgment as a matter of law on all claims based on public-policy grounds.
      Defendant further asserted that it is entitled to summary judgment for Plaintiffs’
      negligent supervision, training, and retention claims under the discretionary-
      function exception. (ECF Nos. 89-90).
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3.    Discovery closes on Friday, September 6, 2019. (ECF No. 22, p. 3).

4.    The Preliminary Pretrial Conference Order sets a deadline of September 13, 2019,
      for pretrial disclosures. (ECF No. 22, p. 4).

5.    The trial is currently scheduled for October 28, 2019. (ECF No. 22, p. 5).

6.    All parties have disclosed expert testimony from multiple experts, including two
      infectious disease specialists and one dentist, who all are located outside of
      Wisconsin and would be required to block off or clear their schedules of patients
      in order to travel and testify in-person at trial.

7.    A stay of proceedings is appropriate because the motion for summary judgment,
      if granted, would dispose of Plaintiffs’ claims, thus making further proceedings
      and expert testimony unnecessary.

8.    Attorney William Rieder represented to undersigned counsel on Friday,
      September 6, 2019, that Plaintiffs do not oppose this motion.

      For the foregoing reasons, Defendant respectfully request that the Court stay the

proceedings pending the Court’s decision on Defendants’ motion for summary

judgment.

      Dated this 6th day of September, 2019.

                                           Respectfully submitted,

                                           SCOTT C. BLADER
                                           United States Attorney

                                           By:
                                                s/ Barbara L. Oswald
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